Case 2:04-cr-20100-.]PI\/| Document 179 Filed 04/27/05 Page 1 of 2 Page|D 257

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IN THE UNITED STATES DISTRICT COURT l
FOR THE WESTERN DISTRICT OF TENNESSEE t §§ -. .
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UNITED sTATEs oF AMERICA, §DE_*§§ §§ §j,_LN-,PH,S

Plaintiff,
vs. Case No. 04-20100 Ml

Armario Douglas

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of

this Court.
IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $1000.00,

payable to Terry Duckworth at 267 East Inn Dr. Brownville, TN 38012 in full refund of the cash

§MQWO»QQQ p§zt,§,,;

appearance bond posted herein.

U ted States District Judge

Date; §//26/ 05 011 P.MCCalla

 

  

 

Approved.

Robert 1 Trolio, Cl of Court
BY.

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with Rule 55 and/or 32(b) FRCrP on /j 2 /

   

UNITED `sATEsDTIsRICT COURT - WTER D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 179 in
case 2:04-CR-20100 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

